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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------x
 HACHETTE BOOK GROUP, INC.,                             :
 HARPERCOLLINS PUBLISHERS LLC, JOHN
 WILEY & SONS, INC., and PENGUIN RANDOM                 :   20 Civ. _____________
 HOUSE LLC,                                             :          ECF Case
                                   Plaintiffs,          :
                                                        :   COMPLAINT
                       -against-                        :   TRIAL BY JURY DEMANDED
                                                        :
 INTERNET ARCHIVE and DOES 1 through 5,                 :
 inclusive,
                                                        :
                                   Defendants.
 ------------------------------------------             x

       Plaintiffs Hachette Book Group, Inc. (“Hachette”), HarperCollins Publishers LLC

(“HarperCollins”), John Wiley & Sons, Inc. (“Wiley”), and Penguin Random House LLC

(“Penguin Random House”), by and through their attorneys Davis Wright Tremaine LLP and

Oppenheim + Zebrak, LLP, for their Complaint, hereby allege against Defendant Internet

Archive (“IA” or “Defendant”) and Does 1 through 5 as follows:

                                     NATURE OF THE ACTION

       1.      Plaintiffs Hachette, HarperCollins, Penguin Random House, and Wiley

(collectively, “Plaintiffs” or “Publishers”) bring this copyright infringement action against IA in

connection with website operations it markets to the public as “Open Library” and/or “National

Emergency Library.” Plaintiffs are four of the world’s preeminent publishing houses.

Collectively, they publish some of the most successful and leading authors in the world,

investing in a wide range of fiction and nonfiction books for the benefit of readers everywhere.

All of the Plaintiffs are member companies of the Association of American Publishers, the

mission of which is to be the voice of American publishing on matters of law and public policy.


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        2.     Defendant IA is engaged in willful mass copyright infringement. Without any

license or any payment to authors or publishers, IA scans print books, uploads these illegally

scanned books to its servers, and distributes verbatim digital copies of the books in whole via

public-facing websites. With just a few clicks, any Internet-connected user can download

complete digital copies of in-copyright books from Defendant.

        3.     The scale of IA’s scheme is astonishing: At its “Open Library,” located at

www.openlibrary.org and www.archive.org (together, the “Website”), IA currently distributes

digital scanned copies of over 1.3 million books. And its stated goal is to do so for millions

more, essentially distributing free digital copies of every book ever written. Despite the “Open

Library” moniker, IA’s actions grossly exceed legitimate library services, do violence to the

Copyright Act, and constitute willful digital piracy on an industrial scale. Consistent with the

deplorable nature of piracy, IA’s infringement is intentional and systematic: it produces mirror-

image copies of millions of unaltered in-copyright works for which it has no rights and

distributes them in their entirety for reading purposes to the public for free, including

voluminous numbers of books that are currently commercially available.

        4.     Books have long been essential to our society. Fiction and non-fiction alike, they

transport us to new worlds, broaden our horizons, provide us with perspective, reflect the ever-

growing knowledge of humanity in every field, spark our imaginations and deepen our

understanding of the world. Yet, books are not self-generating. They are the product of training

and study, talent and grit, perseverance and creativity, investment and risk, and untold hours of

work.

        5.     The publishing ecosystem not only depends upon copyright law, it is historically

intertwined with the founding of the United States. In 1787, the Framers adopted the Copyright




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Clause of the Constitution, explicitly authorizing Congress “[t]o promote the Progress of Science

and useful Arts, by securing for limited Times to Authors and Inventors the exclusive Right to

their respective Writings and Discoveries.” U.S. Const., Art. I, §8, cl. 8. In 1790, the First

Congress enacted the first Copyright Act, focused on incentivizing both the creation and legal

dissemination of books, maps, and charts. Congresses ever since have carefully balanced

copyright amendments to advance the public good and for more than 200 years have prescribed

to authors a suite of enforceable exclusive rights to their writings—which publishers, in turn,

encourage, invest in, license, and distribute to readers through bookstores, libraries, and a

multitude of e-commerce platforms. In this process of publishing books that educate, entertain,

and inspire the public, publishers rely not only on the exclusive rights that are their lifeblood, but

on the expectation that Congress has carefully considered and appropriately tailored any

limitations and exceptions to said rights.

       6.      IA not only acts entirely outside any legal framework, it does so flagrantly and

fraudulently. And it proceeds despite actual notice that its actions constitute infringement. For

the avoidance of doubt, this lawsuit is not about the occasional transmission of a title under

appropriately limited circumstances, nor about anything permissioned or in the public domain.

On the contrary, it is about IA’s purposeful collection of truckloads of in-copyright books to

scan, reproduce, and then distribute digital bootleg versions online. IA’s Website includes books

of every stripe—from bestsellers to scholarly monographs, from entertaining thrillers and

romances to literary fiction, from self-help books to biographies, from children’s books to adult

books. IA often suggests that the Website is limited to twentieth-century books, but this is

neither accurate nor a defense. IA scans, uploads, and distributes huge numbers of in-copyright

books published in both the twentieth and twenty-first centuries, including many books




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published within just the past few years. IA’s unauthorized copying and distribution of

Plaintiffs’ works include titles that the Publishers are currently selling commercially and

currently providing to libraries in ebook form, making Defendant’s business a direct substitute

for established markets. Free is an insurmountable competitor.

       7.      Publishers have long supported public libraries, recognizing the significant

benefits to the public of ready access to books and other publications. This partnership turns

upon a well-developed and longstanding library market, through which public libraries buy print

books and license ebooks (or agree to terms of sale for ebooks) from publishers, usually via book

wholesalers or library ebook aggregators. IA’s activities are nothing like those of public

libraries, but rather the kind of quintessential infringement that the Copyright Act directly

prohibits. Moreover, while Defendant promotes its non-profit status, it is in fact a highly

commercial enterprise with millions of dollars of annual revenues, including financial schemes

that provide funding for IA’s infringing activities. By branding itself with the name “Open

Library,” it thus badly misleads the public and boldly misappropriates the goodwill that libraries

enjoy and have legitimately earned.

       8.      IA defends its willful mass infringement by asserting an invented theory called

“Controlled Digital Lending” (“CDL”)—the rules of which have been concocted from whole

cloth and continue to get worse. For example, at first, under this theory IA claimed to limit the

number of scanned copies of a title available for free download at any one time to the number of

print books of that title in its collection—though no provision under copyright law offers a

colorable defense to the systematic copying and distribution of digital book files simply because

the actor collects corresponding physical copies. Then, in the face of the COVID-19 pandemic,

IA opportunistically seized upon the global health crisis to further enlarge its cause, announcing




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with great fanfare that it would remove these already deficient limitations that were purportedly

in place. Today, IA offers an enormous universe of scanned books to an unlimited number of

individuals simultaneously in its “National Emergency Library.” IA’s blatant, willful

infringement is all the more egregious for its timing, which comes at the very moment that many

authors, publishers, and independent bookstores, not to mention libraries, are both struggling to

survive amidst economic uncertainty and planning deliberatively for future, changing markets.

       9.      Under whatever guise IA attempts to frame its massive infringement—whether

adopting the invented CDL theory or filling the self-appointed role as “National Emergency

Library”—its actions find no support in the Copyright Act. IA’s defenses of its actions—both

before and after the onset of the COVID-19 crisis—are baseless. First, while IA claims to serve

an educational purpose, education has long been a primary mission and market of publishers. It

is authors and publishers who create the books of scholarship and literature for educators,

students, and other readers; IA creates nothing. IA plays no role in the hard work of researching,

writing, or publishing the works or, for that matter, in creating or sustaining the overall

publishing ecosystem and its distinct partnerships and markets. Nor does IA contribute to the

underlying scholarship through commentary or criticism. Moreover, IA’s massive book

digitization business has no new purpose that is fundamentally different than that of the

Publishers: both distribute entire books for reading. In short, Defendant merely exploits the

investments that publishers have made in their books, and it does so through a business model

that is designed to free-ride on the work of others. Defendant pays for none of the expenses that

go into publishing a book and is nothing more than a mass copier and distributor of bootleg

works. In so doing, IA undermines the balance and promise of copyright law by usurping the




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Publishers’ ability to license and sell the books that they have lawfully produced on behalf of

authors and for the benefit of readers.

       10.      IA’s self-serving assertion and promotion of “Controlled Digital Lending” as

both an actual legal doctrine and a justification for its infringement affronts the most basic

realities of the law and the markets it propels. As a matter of markets, IA’s one-to-one

conflation of print and ebooks is fundamentally flawed. Digital books are inherently different

from physical books. They can fly around the world in a second; they do not degrade over time

as physical books do; and they require devices to read them. For these reasons, the Publishers

have established independent and distinct distribution models for ebooks, including a market for

lending ebooks through libraries, which are governed by different terms and expectations than

print books. IA’s end-run around these differences and restrictions is aggressive and unlawful.

In short, all of the reasons why IA has scanned print books to create digital files are the very

same reasons why authors and publishers provide digital books under different terms than print

books—as they are entitled to do under the Copyright Act.

       11.      No concept of fair use supports the systematic mass copying or distribution of

entire books for the purpose of mass reading, or put another way, for the purpose of providing to

readers the very thing that publishers and authors provide in the first place through lawful and

established channels. IA does not add something new to the Plaintiffs’ books, with a different

purpose or character; thus, it cannot even begin to make the all-important showing that its use of

the works is transformative. Separately, Section 109 of the Copyright Act is clear that, pursuant

to the doctrine of first sale, the owner of a lawfully acquired print book may dispose only of

her/his particular print copy. One who makes and distributes reproductions of that physical

copy—such as IA’s low quality scans—is well outside the bounds of the law.




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       12.       Nor do IA’s efforts to brand itself as a library somehow imbue it with any right to

digitize and distribute unauthorized digital copies of books. Libraries are trusted institutions that

serve the communities that fund them. When Congress contemplated the making of digital

copies by libraries under 17 U.S.C. §108, it engaged all relevant stakeholders and created a set of

rational, targeted exceptions to infringement liability—exceptions that have no application to

IA’s actions. As the Copyright Office observed in a relevant public study titled “Legal Issues in

Mass Digitization” (October 2011), “The Section 108 exception does not contemplate mass

digitization.”

       13.       The creation, publication, and distribution of books is an ecosystem. IA

disaggregates itself from this ecosystem, ignores the law, and asserts that its goal of providing

free copies of books somehow excuses it from any responsibility to those who have created the

works and hold exclusive rights under the Copyright Act. Its goal of creating digital copies of

books and providing them to whomever wants to download them reflects a profound

misunderstanding of the costs of creating books, a profound lack of respect for the many

contributors involved in the publication process, and a profound disregard of the boundaries and

balance of core copyright principles. IA does not seek to “free knowledge”; it seeks to destroy

the carefully calibrated ecosystem that makes books possible in the first place—and to

undermine the copyright law that stands in its way.

       14.       In sum, IA’s massive taking violates the Plaintiffs’ exclusive rights under 17

U.S.C §106. Plaintiffs bring this action to halt IA’s assault on their rights.

                                          THE PARTIES

       A.        Plaintiffs

       15.       Plaintiffs are four of the leading book publishers in the United States. Working

closely with their authors, Plaintiffs source, develop, edit, publish, market, and distribute tens of


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thousands of books per year, across the full spectrum of genres and topics.

       16.       Plaintiff Hachette is a publishing company, organized under the laws of

Delaware, with its principal place of business at 1290 Sixth Avenue, New York, NY 10104.

With a history stretching back to 1837, Hachette works with bestselling authors who have been

published all over the world. Hachette books and authors have won Pulitzer Prizes, National

Book Awards, Newbery Medals, Caldecott Medals, and Nobel Prizes. Its many publishing

imprints include prominent brands such as Little, Brown and Company, Little, Brown Books for

Young Readers, Grand Central Publishing, Basic Books, Public Affairs, Orbit, FaithWords and

Center Street.

       17.       Plaintiff HarperCollins is a publishing company, organized under the laws of

Delaware, with its principal place of business at 195 Broadway, New York, NY 10007.

HarperCollins has more than 200 years of history in the book publishing industry and the

company now operates more than 120 imprints and brands in 17 countries worldwide. Each

year, HarperCollins publishes approximately 10,000 new books in more than a dozen languages

and boasts a catalogue of more than 200,000 titles in print and digital formats. Working across a

wide range of genres, authors published by HarperCollins have won the Nobel Prize, the Pulitzer

Prize, the National Book Award, the Newbery and Caldecott Medals, and the Man Booker Prize,

among other honors.

       18.       Plaintiff Penguin Random House is a publishing company, organized under the

laws of Delaware, with its principal place of business at 1745 Broadway, New York, NY 10019.

Penguin Random House can trace its history back to the mid-nineteenth century and one of its

progenitors, Random House, published the first authorized edition of James Joyce’s Ulysses in

the English-speaking world, among other landmark titles. The portfolio operated by Penguin




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Random House has grown to encompass nearly 275 independent imprints and brands across five

continents. Penguin Random House publishes 15,000 new titles per year—catering to readers of

all ages and at every stage of life—and sells close to 800 million print books, audiobooks, and

ebooks annually. It has published hundreds of the most widely read authors in the world.

       19.     Plaintiff Wiley is a publishing company, organized under the laws of New York,

with its principal place of business at 111 River Street, Hoboken, NJ 07030. Founded in 1807,

Wiley has over 200 years of experience publishing scientific, professional, and education books

and journals in print and digital formats. Wiley has published works by over 450 Nobel

Laureates. It publishes over 2,000 new books each year and currently offers over 120,000 titles.

       20.     Plaintiffs are the copyright owners or owners of exclusive rights under copyright

in, inter alia, each of the works listed in Exhibit A (the “Works”), on which they bring suit here.

Exhibit A is an illustrative, non-exhaustive list of in-copyright works that Defendant(s) infringed

through the activities complained of herein. Upon information and belief, all of the Works have

been scanned and uploaded to the Website by IA. All of these titles are commercially available.

       21.     The Works represent a cross-section of the exceptional books that are made

possible by a functioning publishing ecosystem, from perennial classic novels to more recent

highly acclaimed works of non-fiction and everything in between. Some of the greatest works of

fiction ever published find their place among the Works in suit, including The Lord of the Flies

by William Golding (winner of the 1983 Nobel Prize for Literature), Song of Solomon by Toni

Morrison (winner of the 1993 Nobel Prize for Literature), and Their Eyes Were Watching God by

Zora Neal Hurston. The Works also include New York Times bestselling authors like John

Grisham and James Patterson and equally popular thrillers like Gone Girl by Gillian Flynn as

well as hard-hitting contemporary novels, such as The Miseducation of Cameron Post by Emily




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M. Danforth and The Road by Cormac McCarthy, which won the 2007 Pulitzer Prize for Fiction.

Children’s books are well-represented, from old favorites like Little House on the Prairie and

The Lion, The Witch and the Wardrobe to more recent treasures, like the works of Lemony

Snicket and Escape from Mr. Lemoncello’s Library. Books for young adults are also included,

like Scat by Carl Hiaasen and The House on Mango Street by Sandra Cisneros.

       22.     No less important than the works of fiction are the outstanding examples of non-

fiction books represented by the Works. The Works contain multiple titles from the ever-popular

“For Dummies” series, which have taught intrepid readers the basics of everything from oil

painting to comparative religion. For those looking for success in business, the Works include

books by the management guru Patrick Lencioni and books on investment by billionaire analyst

Ken Fisher. Also included are Malcolm Gladwell’s highly influential works on psychology and

behavioral economics, a work by Nobel Peace Prize winner Elie Wiesel, and the well-loved A

Short History of Nearly Everything by Bill Bryson.

       B.      Defendant

       23.     Defendant IA is a 501(c)(3) corporation, organized under the laws of California,

with its principal place of business at 300 Funston Avenue, San Francisco, CA 94118.

       24.     IA is registered with the New York Department of State to transact business and

accept service of process within the State of New York. IA currently transacts business within

the State of New York and this District by, inter alia, distributing digital copies of books (and

other content) to New York residents over the Internet, by providing New York residents with

services-for-a-fee related to the digitization of books, and by soliciting and accepting

contributions from New York residents to further its digitization and distribution of books. In

addition, certain Works were copied and digitized by IA in New York.




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       25.     IA harms the Publishers in this District because IA has copied and uploaded the

Publishers’ copyrighted books to its Website, including each of the Works in suit, without

permission, and IA currently distributes copies to users of the Website, in New York or

elsewhere. Upon information and belief, many of the acts of copyright infringement committed

by IA set forth in this Complaint occurred within this State and District—including illegal

reproductions, distributions, public displays, and/or public performances. Both the Publishers’

economic and author relations damages are primarily felt in this State, where three of the

Plaintiffs have their principal place of business and the fourth (Wiley) is incorporated. IA knew

it would cause injury to Publishers in this State and District, or it should have reasonably

expected injury to occur here. Indeed, IA acknowledges that in the last thirty days over 151,000

views on its site came from New York State, making New York the jurisdiction with the third

highest IA views in the world. See Internet Archive, Books to Borrow,

https://archive.org/details/inlibrary?tab=about (last accessed May 29, 2020).

       26.     IA derives substantial revenue from interstate and international commerce.

According to public filings, IA has earned over $100 million in the last ten years from a national

network of supporters, at least some of whom are based in New York, and from the services it

sells to clients in New York and all over the United States, including industrial-scale book

scanning services.

       27.      Defendants Doe 1 through Doe 5 are certain individuals or entities whose true

identities are not currently known to Plaintiffs. Defendants Doe 1 through Doe 5, who are sued

under fictitious names, are those who also may be responsible for the unlawful activities

complained of herein. (Doe 1 through Doe 5 do not include any public, university, or academic




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libraries.) Once Plaintiffs ascertain their identities, Plaintiffs will seek leave of the Court to

amend the Complaint to include Defendants Doe 1 through Doe 5 as named defendants.

                                  JURISDICTION AND VENUE

        28.     This Court has subject matter jurisdiction over this action, which arises under the

Copyright Act of 1976, 17 U.S.C. §§ 101, et seq., pursuant to 28 U.S.C. §§ 1331 and 1338.

        29.     This Court has personal jurisdiction over Defendant pursuant to CPLR 302

because, inter alia, Defendant transacts business within the State of New York and supplies

services in this State; because Defendant has committed tortious acts within the State of New

York, including the direct and indirect infringement of Plaintiffs’ exclusive rights in copyrighted

books; and, because Defendant has caused injury to Plaintiffs in this State by allowing Internet

users to download and view Plaintiffs’ Works for free on the infringing Website and knew or

reasonably should have known its acts would have consequences in this State, all while deriving

millions of dollars in revenue from interstate commerce,.

        30.     This Court independently has personal jurisdiction over Defendant pursuant to

CPLR 301 because IA is registered to do business in the State of New York and has pervasive

corporate ties to the State that are sufficient to justify the imposition of general jurisdiction here.

        31.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400.

                                   FACTUAL BACKGROUND

A.      The Book Publishing Ecosystem

        i.      Publishers and Authors Rely on Copyright Law to Create Functioning
                Markets for Books

        32.     Books are a cornerstone of our culture and system of democratic self-government

and play a critical role in education. Because books require so much time and effort to write and

develop, they offer the promise of high-quality expression, important insights, and long-term



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value to society. But the qualities that make books among the most reliable conduits of learning

and most intensive sources of creative expression come at a high cost. Publishers are largely

responsible for bearing these costs and, in doing so, act as leading defenders of free speech,

promoters of literacy and scientific knowledge, and creators of the stories people thrive on.

        33.    Authors devote great effort and care in researching and writing books, a skill

which requires training and imagination. It is not unusual for an author to spend years writing a

single book of fiction or nonfiction. Many authors, from the most celebrated New York Times

bestsellers to new talents still making a name for themselves, write books for a living and rely on

income from writing as their primary means of support. Writing is an expert craft, but one that is

commercially unpredictable. Authors who find success with one book may benefit from

renewed interest in and sales of their previous titles. Copyright law supports this long potential

by ensuring a lengthy term of protection, as well as licensing and sale possibilities.

        34.    In the United States, publishing dates back to the dawn of our democracy. Over

hundreds of years, book publishers like Plaintiffs have invested in the talent of authors and

developed unparalleled expertise in the art of publishing high-quality books by providing a

variety of vital services including editing, marketing, and distribution. Publishers expend the

necessary resources, financial and otherwise, in reliance on the enforceable exclusive rights

afforded by copyright law that make recouping expenditures possible. The steadfastness of the

law, in turn, promotes new technologies and new business models and distribution mechanisms

by which to reach new audiences, no matter the circumstances. Indeed, at a time of crisis such as

we have now with COVID-19, the continued viability of publishing is more important than ever

to society.




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       35.     The founders of this nation wrote a copyright clause into the Constitution to

empower Congress to incentivize authors to create and publish their work, yielding a robust

history of Copyright Acts that date to 1790 and have always squarely addressed the protection of

books. The Copyright Act of 1976—which enacts the constitutional imperative into law and

balances the rights of readers with the rights of copyright owners—enables authors to profit from

writing books by granting them the legal right to control the reproduction, distribution, public

display, and public performance of their work, and to create derivative works, among other

exclusive rights. Each of these rights is implicated in this action.

       36.     In a related fashion, copyright law gives authors and publishers, as rightsholders,

exclusive control over how to publish their content in order to allow book markets to develop

and thrive. This includes empowering publishers to tailor their means of distribution and terms

of sale or license depending on the format or medium in which a particular title is released.

These carefully calibrated markets are precisely the markets that IA seeks to disrupt and destroy

by arrogating to itself the right to engage in bulk digitization of the Publishers’ in-copyright

books without a license and without any compensation, and by distributing the resulting illegal

bootleg copies for free over the Internet to individuals worldwide.

       37.     Over hundreds of years publishers have found ways to maintain viable markets

for books even as revolutions in publishing have driven changes in format, from leather-bound

hardcover books to paperbacks to the paperless ebooks we read on digital devices. The ability of

publishers to develop a diversity of new channels as technology evolves is crucial to meeting the

high cost of publishing.

       38.     This includes the market for both new and “backlist” books. Book publishers

derive substantial revenue from backlist books, which range from venerable classics like The




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Bell Jar by Sylvia Plath or Winds of War by Herman Wouk to works written only a few years

ago, including bestselling works such as Eat, Pray, Love by Elizabeth Gilbert and

Commonwealth by Ann Patchett, all of which are Works in suit. Moreover, a great deal of the

most successful children’s books, including many of the Works, are backlist books.

       ii.     The Development of Functioning Markets for Ebooks

       39.     The rise of a commercial market for ebooks provides an example of publishers’

adapting to new technologies to create new and diverse channels to meet the demands of readers.

Since the early 2000s, Plaintiffs and other publishers have offered readers digital versions of

their books, which can be read on portable electronic devices such as the Kindle, Nook, iPad, and

other smart devices. Since that time, ebooks have grown to become a major source of revenue

for authors and publishers. Publishers have invested heavily to expand the ebook market,

including by publishing their backlist titles in ebook form. They have devoted considerable time,

money, and professional expertise to create high-quality ebooks to deliver to readers. Authors

rely on publishers to present their works well to readers.

       40.     The fundamental differences between print and digital formats require publishers

to market print books and ebooks in different ways. Not only are the cost structures and

distribution systems different for these two formats, but ebooks are digital files that can pose

significant security concerns. Without protective measures, digital files can be copied perfectly,

instantaneously and in practically infinite quantity at virtually no cost, and distributed all over

the world in a split second.

       41.     Because of these material differences in format, publishers do not distribute

ebooks the same way that they sell traditional paper books. Like other copyright sectors that

license education technology or entertainment software, publishers either license ebooks to

consumers or sell them pursuant to special agreements or terms established by each publisher


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and the platforms on which the ebooks may be read. By contrast, they sell copies of print books

without any restrictions.

        42.     When an ebook customer obtains access to the title in a digital format, there are

set terms that determine what the user can or cannot do with the underlying file. Publishers also

use digital rights management technology (“DRM”) to restrict the use and further distribution of

ebook files. The commercial ebook market would not be viable if publishers lacked the ability to

place any control over the means of distribution of ebooks or to prevent unlimited copying or

distribution of the files.

        43.     Copyright law recognizes and enforces the right of copyright owners to control

their works through DRM technology. In 1998, Congress enacted the Digital Millennium

Copyright Act (“DMCA”), which made it illegal to circumvent DRM technology. The rights

that enable publishers to control the publication of ebooks ultimately benefit readers because

they enable publishers to provide their ebooks to a variety of channels and at a variety of price

points that make sense for the specific authors and titles in their catalog.

        44.     Over the past twenty years, publishers have embraced the shift to digital

commerce and correspondingly offered consumers an ever-evolving variety of formats,

distribution, and access models. Indeed, Plaintiffs have collectively made thousands of the

books in their catalogs available in ebook form, including the Works identified in this suit and

hundreds of thousands of other works, backlist titles included. Virtually all of the trade books

being offered for sale by Plaintiffs, including backlist books, are available in both print and

ebook form.

        45.     At the same time, it is a basic tenet of copyright law that the copyright holder

retains the exclusive right to decide whether or not to publish a copyrighted book in a digital




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format. At times, authors and publishers make the purposeful decision not to publish particular

titles as ebooks. Some niche categories of books are excluded from the ebook market because

they are not suitable for that market. In other cases, authors and publishers decide not to publish

ebooks because a digital edition would be far inferior to a print version—as with some heavily

illustrated books, art books, or creatively designed children’s books.

       iii.    The Established Market Equilibrium Between Authors, Publishers, and
               Libraries

       46.      Public libraries are among the most cherished institutions in this country. To

Plaintiffs, libraries are not just customers but allies in a shared mission to make books available

to those who have a desire to read, including, especially, those who lack the financial means to

purchase their own copies. Much like a publisher must decide which books to invest in—

balancing all sorts of considerations—librarians must make reasoned decisions about which

books to purchase in order to best serve the needs of their communities.

       47.     Plaintiffs have worked with libraries and library aggregators such as OverDrive to

pioneer an innovative and highly successful service that enables library patrons to easily and

lawfully obtain digital copies of books. Under negotiated terms, publishers provide their ebooks

to library aggregators, who, in turn, work with libraries and their patrons to host a platform that

permits and tracks the lending of ebooks. In this way, library patrons can log onto their library

accounts from their homes or any other location, download ebooks onto their computers,

smartphones, or e-reading devices for a limited time period under stated terms of use and read

them without physically visiting their local library. Each library focuses its services on its

community, making ebook (and other) acquisition decisions based on the specific needs of local

patrons.




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       48.     As competitors in the marketplace, Plaintiffs have each worked with libraries and

library aggregators to develop innovative models capable of sustaining a functioning market for

their respective ebooks. These pricing and agreed terms of use—which vary from publisher to

publisher and can vary by market segment—continue to evolve based on the feedback from

libraries and other considerations. There is a vibrant market for selling and licensing ebooks to

libraries to provide their patrons with lawful copies of ebooks. But that market cannot be

sustained if, rather than patronize their local library, individuals can freely download

unauthorized scanned copies of Plaintiffs’ books from IA’s Website.

       iv.     Plaintiffs and Libraries Reacted Rapidly to Ensure Library Patrons Have
               Access to Books During the COVID-19 Lockdown

       49.     The advent of the COVID-19 pandemic has shown that online commerce is more

important than ever to publishers, authors, bookstores, and libraries. During this time period,

many customers have been well-served by existing digital business models, both commercial and

noncommercial. Additionally, publishers and libraries have engaged in numerous emergency-

related initiatives to ensure that readers retain access to books while nationwide stay-at-home

orders remained in effect. They have ranged from providing free ebook copies to library patrons

during the shutdown in specific instances, to donating hundreds of thousands of print books, to

working closely with schools, colleges, and teachers to ensure access to and availability of books

necessary for online learning.

       50.     The Publishers have used their exclusive rights to strike an appropriate balance

between the interests of the relevant parties, particularly authors and readers. Moreover, the

measures taken by the Publishers in response to the COVID-19 pandemic also take into account

the needs of booksellers, particularly independent bookstores, most of which are small

businesses that have been crippled by the shutdowns. Copying and giving books away to



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everybody for free—as IA has done with Plaintiffs’ and others’ works—deprives booksellers of

the sales that they need to stay afloat and authors of royalties they otherwise count on as

compensation for their work.

       51.     Libraries have been equally proactive in meeting the challenges of the COVID-19

pandemic. For example, despite the closure of their physical locations, many libraries have

allowed new patrons to sign up for library cards online. Patrons are still able to lawfully

download hundreds of thousands of ebooks and online materials through the digital lending

systems that libraries and publishers have developed. IA’s Website steers readers away from the

digital platforms that local public libraries continue to operate.

       B.      Internet Archive Unlawfully Disrupts the Book Publishing Ecosystem by
               Infringing Copyright on an Industrial Scale

       52.     Despite its efforts to cast itself as the hero in this story, IA’s business model for

the Website—which is essentially to freely disseminate scanned copies of every physical book it

can lay its hands on—is parasitic and illegal. IA exploits the invaluable work that authors and

publishers do without investing in any of the effort or paying any of the costs associated with the

creation and publication of the books. What IA does is copyright infringement, plain and simple,

and it must be stopped.

       i.      Internet Archive

       53.     Brewster Kahle founded Internet Archive in 1996. Internet Archive provides a

number of services not at issue in this action, including its Wayback Machine and digitization of

public domain materials. At issue here is IA’s scanning of in-copyright books and distribution of

digital copies via its Website. Notably, it operates with a surprisingly unsubtle penchant for

money-making behind its non-profit 501(c)(3) tax code designation.




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        54.      IA reported more than $150 million of revenue in the last ten years, according to

publicly available tax filings. As per its 2017 tax filings, it employed 150 employees. IA’s

headquarters are located in an exclusive area of San Francisco. Kahle expanded the IA empire in

2019 by purchasing through Better World Libraries, a shell company he controls, the for-profit

Better World Books, an online retailer that predominantly sells used books.

        55.      The bulk of IA’s revenue is derived from contributions from large donors,

including tens of millions of dollars from the Kahle/Austin Foundation. The Kahle/Austin

Foundation is an entity established by Brewster Kahle and his wife to give money to IA and

other favored projects. In 2018, the Kahle/Austin Foundation reported assets of $104,483,456.

IA also has reported sizeable donations from other large foundations, some of which are based in

New York.

        56.      IA has an interlocking web of contributions and commercial services that support

its Website. In addition to receiving large-dollar donations, IA has made tens of millions of

dollars from selling commercial services. One of the services it offers is industrial-scale book

scanning and digitization, which has generated more than $25 million in revenue since 2011. IA

provides this service to customers nationwide, and as its marketing materials tout, employs a

Regional Digitization Manager for customers in the “NJ/NY/PA” area. Upon information and

belief, this employee currently resides in New York City. This same employee helped to set up

and manage IA’s first digitization center, which was housed for an extended period of time in

this District.

        ii.      The Open Library

        57.      IA started the “Open Library” in or around 2006 with the goal of providing “one

web page for every book published.” An online catalog of all the books in the world was not a

novel concept. Since 1998, the WorldCat database run by the Online Computer Library Center


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has provided an exhaustive online catalogue of library books, which currently contains over 450

million bibliographic references.

         58.   But IA was not content with a resource tool designed to help users find books.

Taking a step further, IA created the Website with the goal of providing free downloads of entire

copies of every book ever published. Over the course of several years, IA has gradually built up

a program designed to obtain vast quantities of print books in bulk, scan them on an industrial

scale, and distribute digital copies through the Website without any license from the copyright

owner.

         59.   IA engages in this massive, industrialized scanning of print books to create digital

files in large part to evade the Publishers’ commercial terms for ebooks and because DRM

precludes the duplication of Plaintiffs’ ebooks. In other words, IA employs this end-run as a

means to avoid both the Publishers’ ebook use restrictions and the dictates of the DMCA by

creating its own bootleg electronic versions of the books through scanning. But that end-run is

unlawful and equally harmful to the Publishers and their authors, who receive no compensation

for IA’s reproduction and distribution of their works in digital form and whose paid offerings

cannot readily compete with IA’s free but unlawful versions.

         60.   The basic purpose of IA’s massive book digitization project is the same as

Plaintiffs’ basic purpose in publishing books, which is to distribute reading material. This is in

stark contrast to other large-scale book digitization projects, like the ones carried out by Google

and the HathiTrust, which created digital indexes of the contents of books that could be used for

the purpose of online search, but which never made the contents of entire books freely available

to the general public. Here, IA allows every person in the world to instantly download complete




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books or download them—without ever receiving the necessary permission from the copyright

owner.

         61.   In a 2017 interview, IA’s founder stated, “We’re trying to . . . make all the

published works of humankind available to people, permanently. If you’re curious enough to

want to have access, we can make it available [sic] to all the books, music, video, web page,

software, lectures, available to anybody wanting to have access.” Mary Kay Magistad, Where to

find what’s disappeared online, and a whole lot more: Internet Archive, PRI.org (Feb. 23, 2017,

8:00 p.m.), https://www.pri.org/stories/2017-02-23/where-find-whats-disappeared-online-and-

whole-lot-more-internet-archive.

         62.   In recent years, IA has started to ramp up its efforts. The annual income reported

by IA has nearly doubled since 2013 and the rapid accumulation of funds has been accompanied

by public statements promising aggressive expansion. In 2019, for instance, the Director of

Open Libraries told Library Journal that he aimed to increase the acquisition of books in bulk

and speed up the rate of book digitization to 500,000 books per year. The goal of this

accelerated activity is to put “more than four million books online for the public,” which would

match the number of books in the collection of a large metropolitan library system. Matt Enis,

Internet Archive Expands Partnerships for Open Libraries Project, Library Journal (May 2,

2019), https://www.libraryjournal.com/?detailStory=internet-archive-expands-partnerships-for-

open-library-project.

         63.    As the number of scanned books on the Website increases exponentially, the

misrepresentations IA employs to justify its infringing activities are exposed. For example, IA

frequently characterizes the books on the Website as twentieth-century works that do not have

active sales or available ebooks, as if infringement is allowed if a work is not readily available




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(which it is not). But this “old books” defense is a fantasy. As is evident from IA’s own figures

and the Works in suit, many of the books that IA provides in the most popular categories, such as

biographies, were published in the years leading up to 2000 and in the twenty-first century, with

relatively few books from earlier in the twentieth century. This is evident from the Open

Library’s own graph illustrating the year of publication for its biographies:




        64.       Indeed, the Works in suit include books first published in 2019, including The

Man Who Solved the Market: How Jim Simons Launched the Quant Revolution by Gregory

Zuckerman, with a publication date of November 2019.

        65.       In short, IA directly harms the Plaintiffs’ print and ebook markets in all market

segments by providing competing substitutes for numerous original works currently available in

their catalogs.

        66.       IA knows that it cannot proceed with the mass digitization and distribution

reflected by the Website without an agreement with the Publishers on mutually agreed terms.

The Publishers and/or their trade association AAP have put IA on direct notice that Open

Library’s unauthorized reproduction and distribution of copyrighted works is infringing. For

example, in 2018, HarperCollins put IA on express written notice that its actions in connection

with Open Library with respect to HarperCollins’ titles were infringing and not justified under its

various manufactured defenses. Despite actual notice that its actions were illegal and without

any basis in law, IA has willfully persisted with its infringing activities.


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        iii.       The User Experience of the Website

        67.        From the perspective of the Website user, IA offers an ostensibly attractive

proposition: free copies of about 1.3 million books. Anyone with an Internet connection and an

email address can sign up for an account to use the Website in a matter of minutes. The process

requires no verification of the user’s identity, and there is nothing to prevent users from creating

multiple accounts with dummy email addresses in order to circumvent limits, assuming any are

in place at all.

        68.        Once on the Website, a user is taken to a landing page that suggests titles under

categories such as “Books We Love,” “Romance,” “Science,” “Kids” and “Thrillers.” Users can

also search for books according to title, author, subject, ISBN, and other categories.

        69.        Clicking on a book title takes the user to the title’s webpage on the Website,

which contains a picture of the cover, a description of the book and bibliographic information,

such as the publication date and the WorldCat catalog number. As shown in the screenshot on

the following page, which is a typical webpage on the Website, the user is also presented with

links through which he or she can buy a copy of the book.




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       70.     The first—and most prominent—“Buy this book” link is to Better World Books,

the online, largely used bookseller owned by a shell company controlled by IA founder, Brewster

Kahle. Notably, IA does not provide links to the book publisher’s or author’s website.

       71.     For each book on the Website, IA gives users one of two options, which it calls

“read” or “borrow.” The books in the “read” category are books that IA presumably has

concluded are in the public domain. For books in the “read” category, the Website has no limit

on how many users can download them, either at any point in time or in the aggregate. Users

who choose the “read” option can download to their computers, e-readers, or mobile devices a

scanned copy of the entire book in a variety of digital formats that lack any DRM protection,


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including as a .pdf file. Once a user downloads a book as a .pdf, he or she is free to make

unlimited copies of the book and can distribute it to whomever they wish at no cost.

Alternatively, users can read these books through the IA’s “Book Reader” interface described

below.

         72.   Although the books that IA classifies in the “read” category are presumably

supposed to be in the public domain, sometimes the books are in fact protected by copyright.

For instance, at one point, any Internet-connected individual could download copies of the

modern classic To Kill a Mockingbird, which is still under copyright, without any restrictions. In

other cases, copyrighted books have been distributed without DRM restrictions because, upon

information and belief, IA erroneously decided that they were public domain works based on

elementary misunderstandings of copyright law.

         73.   Under the second option, IA permits users to “borrow” titles from the Website

that it recognizes are not in the public domain through its so-called “controlled digital lending”

protocols. “Borrow” is a euphemism for an illegal reproduction and distribution. As described

below, “controlled digital lending” is a manufactured legal paradigm, conceived by IA, to cast

aside well-established copyright jurisprudence.

         74.   Under IA’s “controlled digital lending,” a Website user can download a certain

number of books at a given time, which IA has currently set at ten. Once IA has distributed the

maximum number of books the user is allowed, he or she must check a book back in before

taking another one out, although there is nothing to prevent a user from circumventing this limit

by setting up multiple accounts. Each such “loan” lasts for a two-week period. When the period

ends, the book is supposedly “checked in” by the Website.




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       75.     Until the recent pandemic and the advent of IA’s so-called “National Emergency

Library,” IA claimed that it also enforced an “owned to loaned” ratio that restricted the number

of users who could borrow a copyrighted book at once. In theory, this means that the number of

scanned copies of a title downloaded from the Website at any one time cannot exceed the

number of print copies of that title owned by IA or its partner libraries. If that number is

exceeded, then the user is ostensibly put on a “waitlist.”

       76.     Users that have successfully checked out a book can read it immediately on the

Website’s Book Reader platform. IA publicly displays a copy of the work on that platform.

This interface operates in the user’s web browser and provides a digital replica of a hard copy

book, as shown in the screenshot below:




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Users can turn the pages by clicking on them or using buttons below the page. The Book Reader

also allows users to click an “audio” button, at which time IA’s software mechanically reads the

book aloud.

         77.   IA also enables users to download and view copies of books using a software

program called Adobe Digital Editions (“ADE”). The ADE files are purportedly protected by

DRM technology that restricts certain copying and only allows users to access the file during the

fourteen-day loan period, at which time it locks them out.

         78.   The Website allows users to “borrow” books in two ADE formats: “Encrypted

Adobe PDF” (which is billed as containing “High Quality Page Images” of the entire hard copy

book) and “Encrypted Adobe ePub.” The Encrypted Adobe PDF is not the kind of specially-

formatted ebook that a user would purchase as an authorized ebook. Rather, it is a digital file

consisting of a scan (i.e., photograph) of the pages of a physical book. IA generates the

Encrypted Adobe ePub file from scanned books using optical character recognition technology.

The Website distributes the Encrypted Adobe ePub as a “smaller file,” but acknowledges it “may

contain errors.” This is an understatement. The ePub files tend to be rife with transcription

errors and are sometimes entirely illegible, as can be seen from the example on the following

page.




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        79.     Users can read the books they download as ADE files on devices such as

smartphones, tablets, and e-readers like Kindle, Nook or iPad. The Book Reader platform has

been designed to work on mobile devices as well. IA has boasted on its blog that Website users

can borrow books and read them on their devices just as easily as they can read ebooks

legitimately purchased or borrowed from licensed services. While the quality of the digital

format scans that IA provides are inferior to the quality of Publishers’ ebooks, these bootleg

versions act as a substitute for the authorized versions, since readers select titles for their content.

No one reads a James Patterson thriller after downloading a scan of the book from Open Library

and then declares, “I liked it so much, I am going to read an authorized ebook again on my

Kindle for a different experience.”



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        iv.    The Open Library Is Not a Library, It Is an Unlicensed Aggregator and
               Pirate Site

        80.    Defendant bills its Website as “an accredited California State Library run by the

non-profit Internet Archive,” but this branding fraudulently misleads on several levels.

        81.    The Open Library is not an “accredited library” by any commonly understood

definition of those words. The reference to accreditation refers, upon information and belief, to

the fact that the State of California provided IA with federal funding through the Library

Services and Technology Act (“LSTA”) in or around 2011. LSTA awards are available to a

wide array of organizations, not just actual libraries, including for example the Los Angeles

Philharmonic Association. In short, the fact that Internet Archive was able to meet the broad

criteria for LSTA funds does not make it an “accredited library,” and it most certainly does not

make it the trusted equivalent of a public or academic library.

        82.    More fundamentally, the Website lacks the characteristics shared by actual

libraries. Instead, the service it provides more closely resembles that provided by aggregators

like OverDrive, that Plaintiffs routinely engage to distribute ebooks, with defined terms of use

and at an agreed-to fee—except IA operates without authorization or remuneration. For

instance, whereas libraries serve local and academic communities, the Website distributes copies

indiscriminately to everybody on the planet, or at least everybody with a connection to the

Internet.

        83.    IA tries to wrap itself in the flag of an “educational” enterprise, but it is not. First,

it is not an educational institution or even an affiliated academic library serving a defined

university community. It is devoted to education no more specifically than any platform that

transmits, streams, or otherwise delivers content on the global Internet. Moreover, the notion

that the Website specializes in educational material is pure fiction. A quick glance at the



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Website’s landing page shows that it lists thrillers and romance novels more prominently than

textbooks or other works that may be used in schools. Further, upon information and belief,

many of the non-fiction books on the Website are read for personal entertainment or edification,

not classroom use:




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         84.   Branding itself as a “library” does not imbue Defendant with the right to engage

in behavior that would otherwise be considered wholesale theft.

         v.    IA’s Industrial Book-Scanning Machine and Global Scanning Operations

         85.    IA has devised a commercial full-service loop that funds its quest to distribute

digital copies of every book, and at the same time, provides millions of copies of the very works

it needs to stock its Website.

         86.   To this end, IA has implemented an industrial process that enables it to scan the

many millions of books it has acquired and continues to amass. The “Scribe system” developed

by IA uses a sophisticated scanner operated by manual labor. See Internet Archive, Internet

Archive Digitization Services – Partner Documents, https://archive.org/details/partnerdocs (last

accessed May 31, 2020). IA invented the Scribe scanner for the purpose of scanning books in

bulk:




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       87.     Upon information and belief, a single Scribe scanner can digitize a 300-page book

in five minutes. According to its promotional materials, IA operates seven “regional digitization

centers” and eleven “satellite locations” in the United States, Canada, and the United Kingdom,

with multiple Scribe scanners at each location. Upon information and belief, IA has employed

more than 50 “book scan center staff” to work within facilities housing Scribe scanners, who are

responsible for digitizing the books to add to the Website. Upon information and belief, IA has

also engaged low-wage contractors in other countries, such as the Philippines and China, to scan

bulk quantities of books that are shipped there from the United States. Upon information and

belief, IA also has recruited and used unpaid volunteers to scan copyrighted books for the

Website. IA can scan 3,000 books in a single day when operating at full capacity, according to

its Archivist and Software Creator, Jason Scott (believed to be a New York resident).




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       88.     At one point, IA operated a digitization center in this District and, although it has

been discontinued, the Website currently contains many copyrighted books that were scanned in

New York, including some of Plaintiffs’ Works in suit.

       89.     IA makes multiple reproductions of Plaintiffs’ books at various stages. As IA

photographs each page of a book using the Scribe scanner, the scanner creates a digital copy of

those pages and then combines them with copies of all the other pages to make a single digital

copy of the entire book. IA then copies each digital book file onto its main computer servers

located in San Francisco, together with metadata about the book and the scan or file. Multiple

copies of the scanned book pages are made in the course of this process as IA converts the file

into different formats (including, inter alia, .pdf, ePub, OCR text files and audio formats) and

then reproduces all of those files onto its servers.

       vi.     Internet Archive Shifts the Costs of Its Illegal Book Digitization Project Onto
               Publishers, Libraries, Open Library Users, and Other Third Parties

       90.     IA’s business model for Open Library is predicated upon infringement, and it

willfully inverts the carefully balanced book publishing ecosystem. Whereas publishers, authors

and libraries actually invest the time and money that it costs to publish and distribute a book, IA

refuses to pay for any of these costs and has even devised a parasitic system to shift the costs of

its large-scale infringement onto other people.

       91.     IA attempts to present the Website as an altruistic non-commercial enterprise.

But despite its technical not-for-profit status, IA has set itself up to generate huge amounts of

revenue from the very people and entities it is supposed to be helping in order to fuel its

copyright infringement project, as the following examples illustrate. IA should be seen for what

it actually is: a commercial actor.




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               a.      Internet Archive is Paid Millions of Dollars to Infringe Copyrighted
                       Books and Put Them on the Open Library

       92.     IA operates a major commercial business performing scanning and hosting

services. This provides a critical revenue stream that IA uses to fund and facilitate its piracy

scheme. IA first induces various libraries to pay to have books in their collections scanned at a

set price, and, at the same time, copies of all the works scanned are provided to the Open

Library. While most public libraries have agreed to scan only public domain materials, on

information and belief, IA also has earned substantial fees scanning and uploading some library

collections of copyrighted books.

       93.     In a recent blog post, Brewster Kahle admits that “[l]ibraries paying for our

scanning services is a major source of earned income for the Internet Archive.” See Brewster

Kahle, Internet Archive Staff and Covid-19: Work-at-Home for Most, Full-Pay Furlough and

Medical for Scanners (Mar. 25, 2020), https://blog.archive.org/author/brewster/. Evidence from

IA’s publicly available tax records confirm that it has made over $25 million from book scanning

since 2011. Of course, IA also profits from adding copies of the books it scans to the Website,

using funds from donations, foundations, and elsewhere.

       94.     Plaintiffs obviously have no objection to the digitization of public domain titles.

Nor do they object to anyone granting IA a license to put books or journals that they own the

rights to on the Website. But IA has designed its bulk book scanning service for libraries to be a

pipeline that feeds the Website with extensive copyrighted material in addition to the permitted

copying of any public domain or licensed material, all at no cost to IA.

               b.      Better World Books Feeds the Open Library with Copyrighted Books

       95.     The acquisition of Better World Books by a shell company controlled by Brewster

Kahle in 2019 has provided IA with yet another way to acquire books for the Website without



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actually paying for them. As part of its business model, Better World Books acquires mass

quantities of used print books, including what it refers to as a “Library Discards & Donations”

program that it claims works with librarians to “reuse or recycle” surplus library books. Better

World Books funnels books to IA, which scans and uploads them to the Website. Moreover, the

complex series of circular relationships between IA and Better World Books further contributes

to the commercial nature of IA.

       96.     This arrangement creates a perfect closed loop system that benefits IA in several

ways. As IA stated in the press release accompanying the acquisition, the new relationship

between Better World Books and IA “will allow Better World Books to provide a steady stream

of books to be digitized by the Internet Archive, thereby growing its digital holdings to millions

of books.”

       97.     Upon information and belief, the system works as follows: first, Better World

Books acquires millions of used print edition books (provenance unknown), which it provides to

IA to be scanned and added to the Website for widespread downloading and distribution.

Second, the webpage for every digital format book on the Website—including the pages for the

books provided by Better World Books—includes a prominent link inviting the user to buy a

print copy of the book from Better World Books. Upon information and belief, this sale not only

benefits Brewster Kahle’s shell corporation, but the traffic that IA drives to Better World Books

results in more book sales, which enables IA to acquire more books to scan and upload to the

Website. And the cycle repeats. Better World Books also encourages its customers to donate

funds to IA by topping off their purchases to a higher dollar amount.

               c.      Users “Sponsor” Books that Internet Archive Wants to Infringe

       98.     IA also earns revenue from users in exchange for special access to individual

book titles through its “sponsorship” program. In some ways, this is little different from


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“selling” limited access to digital books to these sponsors. In brief, IA gives users the option to

“sponsor” books that it does not have and wants to add to its collection. The sponsorship

program is so central to IA that the main landing page for the Website features at the very top the

selection of books it would like users to sponsor:




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       99.     Users who click on the sponsor option are taken to a webpage that informs them

that a “tax deductible donation can add this book to Internet Archive’s lending library, forever.”

The book page informs the user of the cost of the “donation” required to purchase the book.




       100.    In this case, users were given the option to purchase for IA a copy of Back to the

Batcave by the late actor Adam West, who played Batman in the cult-classic 1960’s television

show, for a hefty donation of $93.12. As an inducement to sponsor the book, users are given the

right to be the first to borrow the book when it becomes available and to add a “personalized

sponsorship message.” IA uses donations it receives for sponsored books to obtain a physical


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copy of the book, scan it, and upload the digital copy to the Website for download. It is not clear

how IA uses any money left over.

       101.      IA’s book sponsorship scheme is breathtakingly brazen. In essence, IA tells its

users which copyrighted books it wants to infringe. Then it asks users to pay a “donation” far in

excess of the list price of the book for IA to go out and buy a print copy from an undisclosed

source, possibly Better World Books. Finally, IA uses the user’s money to scan the book and put

it online, where anyone can get a copy for free—completing the copyright infringement process

without spending a single dollar of its own money. Tax-deductible donations are not meant to

foster piracy.

       102.      The sponsorship option is also designed to drive an accelerating cycle of

infringement. By encouraging users to sponsor the books they most want, IA incentivizes its

users to select popular books. Once IA obtains the print book, scans it, and uploads it to the

Website, that infringing file will attract new users. The new users will, in turn, sponsor even

more popular books, which will attract even more users and so on, ad infinitum.

                 d.     Internet Archive Absorbs Entire Libraries for the Website

       103.      Yet another way IA acquires books for free is to solicit and accept bulk donations

of books from struggling or defunct libraries. In a May 2019 article, Open Libraries Director

Chris Freeland described IA’s “acquisition program,” stating that it “involves collecting

donations of in-copyright materials from libraries and booksellers, digitizing this content in

[IA’s] scanning center in Cebu, the Philippines, and then storing the physical copies in archive

facilities in Richmond, CA” (emphasis added).

       104.      Ironically, the many thousands of hard copy books IA obtains from defunct

colleges or libraries will likely end up in “archive facilities in Richmond, CA,” which consist of

large shipping containers owned by IA. Once locked away, upon information and belief, IA will


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make no effort to make the print books available to be read, like books in actual library

collections. Instead, the print copies primarily exist to rationalize, or provide the predicate for,

IA’s argument that there is a one-to-one correlation between print copies legitimately owned and

their illegitimate ebook scanned copies.

        105.    Through its acquisition program—and similarly aggressive book scanning, Better

World Books and “sponsorship” schemes—IA seeks to achieve its next benchmark of putting 4

million copyright-protected books on the Website.

        106.    Remarkably, every one of the systems for acquiring books described above is

designed so that IA avoids paying authors or publishers anything, while simultaneously ensuring

that IA rakes in money from its infringing services and, at the same time, obtains free books for

the Website.

        vii.    Controlled Digital Lending

        107.    IA relies on the contrived theory of “controlled digital lending” described above

as its central defense to charges of copyright infringement. But CDL is an invented paradigm

that is well outside copyright law, appears to have sprung up in response to the objections of

copyright owners to IA’s infringing activities and, in any event, does not excuse IA’s massive

infringement.

        108.    IA is a leader and organizer of a larger proselytizing movement of academics and

activists seeking to find a way to justify a “scan first, figure out the details later” approach to the

mass digitization of copyrighted books. In 2018-19, IA sponsored the drafting of a “White Paper

on Controlled Digital Lending of Library Books” by law professors David R. Hansen and Kyle

K. Courtney. IA and Brewster Kahle broadly promote CDL, speaking widely and engaging in a

broad public relations campaign, inducing others, including libraries, to join their cause and




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cynically using them to reflect their glow of legitimacy onto the Website. But IA’s “controlled

digital lending” finds no actual support in the law.

       109.    As a preliminary matter, Plaintiffs’ challenge whether IA maintains the detailed

records or practical control necessary to sustain the so-called “owned to loaned ratio” that is the

cornerstone of CDL, i.e., the notion that the number of electronic copies of a book for download

from the Website at a given time never exceeds the number of physical copies of the book owned

by IA or one of its partner libraries. With respect to the Website’s titles for which the

corresponding print books are allegedly stored at partner libraries, it defies reason that the

partner libraries will have the wherewithal to faithfully and consistently remove a book from

circulation each time it is borrowed on the Website, and put it back on the shelf when the

Website version is checked back in. As for the truckloads of books warehoused by IA, IA

archivist Jason Scott admitted in a recent tweet that for the millions of physical copies acquired

by IA, “[o]nly one or two unique copies are kept” and “stored at the physical archive.”

“[D]uplicates (which have increased over time) are donated to various charities and non-profits.”

       110.    But even if IA were scrupulously following its own invented theory of “controlled

digital lending,” the theory has no legal justification. First, IA and its supporters relied heavily

on the “first sale doctrine” codified at 17 U.S.C. §109, which entitles the lawful “owner of a

particular … lawfully made” copy of a copyrighted work, like a book, “to sell or otherwise

dispose of the possession of that copy or phonorecord.” The central thesis of the White Paper

sponsored by IA was that the broader principles reflected in this doctrine should be imported into

the fair use doctrine to protect IA’s actions. But as enacted by Congress, the first sale doctrine is

carefully confined as a limitation on only the distribution right. It permits the owner of a copy to

distribute the particular copy that has been lawfully acquired—for example, as in the secondary




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sale of a hardcover book or a painting—but it provides no exemption from the copyright holder’s

exclusive right to reproduce a work. The lynchpin of IA’s whole operation is that it scans a print

book to create a digital file—a classic unauthorized reproduction of a work that puts the

application of Section 109 clearly out of reach.

       111.    Faced with these inconvenient facts, IA has also advanced the illogical premise

that its massive illegal copying and distribution is “format shifting” protected by the fair use

doctrine. But the rudimentary use of a scanner to “format shift” print books into digital works

for distribution to the public does not constitute either a permitted personal use or a

transformative use. The activity squarely intrudes upon the exclusive rights under 17 U.S.C. §

106, and no exception of any kind applies.

       112.     At bottom, CDL is based on the false premise that a print book and a digital book

share the same qualities. But, as outlined above, they are fundamentally different mediums, and

they exist as distinct economic markets. As the Copyright Office phrased it in a key report,

“Time, space, effort and cost no longer act as barriers to the movement of [digital] copies, since

digital copies can be transmitted nearly instantaneously anywhere in the world with minimal

effort and negligible cost.” Digital Millennium Copyright Act (DMCA) Section 104 Report:

Before the Subcommittee on Court, the Internet and Intellectual Prop., 107th Cong. (Aug. 2001)

at p. 82, available at https://www.copyright.gov/reports/studies/dmca/sec-104-report-vol-1.pdf.

In stark contrast, a range of physical obstacles impact the distribution of books as material

objects—from the need to transport them to each reader, to the need for library patrons to travel

to libraries to take them out and return them. Further, print books deteriorate over time, unlike

digital files. Copyright law vests the copyright owner with the right to develop each market

based on terms appropriate to the medium, as well as the right to extract the full value of




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publication in digital form. These economic rights would be severely undermined if IA can

circumvent the rightsholder entirely and copy millions of print books into digital copies to be

widely distributed, even if it maintains an “owned to loaned ratio.”

        113.      IA’s mass digitization of books is potentially even more pernicious than ordinary

online piracy. First, its use of “library” branding deceives some users into thinking the Website

is a legitimate site. Moreover, IA not only makes millions of dollars as outlined above in ways

related to its systematic infringement but also uses those profits to fuel its mission to fill the

digital Library of Alexandria with every book ever written. Allowing IA to operate the “Open

Library” for in-copyright works will create an indelible impression for libraries and readers that

digital format books should be free—and can be free just as soon as IA scans a print copy. This,

in turn, will impair the sales and licensing of books and ebooks that actually make it possible to

pay the high cost of writing and publishing the quality books that IA purports to value so much,

yet pays little or nothing to sustain.

        viii.     The National Emergency Library

        114.      On March 24, 2020, IA doubled down on its infringement, announcing that in

light of the COVID-19 pandemic, it would suspend the “owned to loaned” ratio aspect of CDL,

while retaining other aspects of it. In other words, Defendant altered how the Website operates

so that it could distribute as many copies of any book it wanted, no matter the number of print

copies on hand purportedly because the pandemic required it. This so-called “National

Emergency Library” was tantamount to asserting an emergency copyright act unilaterally and by

private action.

        115.      IA admits that it did not bother to “engage with the creator community and the

ecosystem in which their works are made and published” before launching this revised approach

for the Website. When IA was roundly criticized by publishers, authors, individual librarians,


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and the bookselling community for disregarding their interests and legal rights, IA responded

that it had merely “moved in ‘Internet Time’ and the speed and swiftness of our solution [to the

COVID-19 lockdown] surprised some and caught others off guard.”

       116.    In a feigned act of magnanimity, IA assured authors that it would abide by a

notice and takedown system. But this turns copyright law on its head. Copyright owners have

the power to decide in advance how their exclusive rights will be exercised. Copyright is not an

“opt-out” system whereby infringers can distribute copyrighted works for free, with impunity,

until they are told to stop. The Copyright Act does not and never has put the burden on authors

and publishers to police the unlawful actions of direct infringers, which in the case of the IA not

only copies, uploads, and distributes infringing files, but asserts conditions and procedures for

agreeing to stop the infringement.

       117.     Defendant does not qualify as an intermediary entitled to certain protections

under the Digital Millennium Copyright Act. The DMCA allows the operators of online services

that host content posted by users and meet certain conditions to avoid copyright liability by

responding expeditiously to a takedown request from the rightsholder. The DMCA notice and

takedown system is inapplicable to this case because IA, not third-party users, uploads the

infringing files to the Website. And to add insult to injury, both before and since the “National

Emergency Library,” when faced with the frustrated demands of authors or publishers, IA has

often failed to stand by its proclamation to honor takedown requests, or opt-outs, thereby further

exposing the overall lack of integrity that surrounds this process.

       118.    The Website as operated under the “National Emergency Library” parameters

does not qualify as a fair use. Among other reasons, no one anointed IA to address the

educational needs of the nation, and the Website has not been designed to meet specific




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educational needs or even to focus only on books that are not commercially available. Section

110 of the Copyright Act, known as the TEACH Act, already grants teachers broad rights

regarding the use of literary works, and book publishers, libraries and schools have on their own

initiative sought to address educational needs directly during the health crisis while keeping in

mind the needs of all stakeholders. In short, Defendant opportunistically seized upon the

COVID-19 pandemic as an excuse to accomplish its long-desired goals while ignoring the law

and harming the publishing ecosystem so critical to the world of books.

         C.     Defendant’s Infringement Causes Harm to Publishers

         119.   In all its different iterations (including under its “controlled digital lending”

protocols), IA’s Website causes substantial harm to Plaintiffs, who produce and distribute books

on behalf of themselves and their authors, to whom they pay royalties. Without the Publishers’

permission, IA and its Open Library business are using the unauthorized book scans to exploit

existing markets (and potentially new related markets), causing authors and Plaintiffs substantial

and irreparable harm. This includes, but is not limited to, the types of market harm outlined

below.

         120.   First, a verbatim copy is a classic non-transformative use and a substitute for the

original work. By operating the Website, IA competes directly with Publishers’ works in all

formats (including, without limitation, print and digital) and market segments (including, without

limitation, commercial, library, and school).

         121.   Second, by providing copies of digital books for free, IA devalues the book

market. Consumers begin to view works as cheap and become increasingly unappreciative of

what it takes to produce them and unwilling to pay fair value for them.

         122.   Relatedly, IA’s decision to provide free and full copies of Plaintiffs’ books,

including the Works, to anybody who wants them interferes with Plaintiffs’ relationships with


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customers and distributors, including libraries, who had already paid full value for them. The

willingness of those distributors and customers to acquire digital formats in the future is

diminished by the free distribution of Plaintiffs’ books, including the Works, on the Website.

        123.    Third, public libraries are evolving to meet the changing needs of their patrons

and trying hard to remain at the center of their communities. Defendant’s Website undercuts

public libraries by disintermediating them. Harm to and loss of community support for public

libraries, in turn, hurts the Publishers, since these libraries pay for their books, which, in turn,

hurts authors, who share in and depend upon compensation for their copyrights.

        124.    Fourth, the Website’s .pdf and ePUB files are often of inferior quality. Authors

expect their publishers to be guardians, ensuring the high-quality of their works as delivered to

the marketplace. Websites like Open Library, thus, hurt Plaintiffs’ relations with authors.

        125.    Likewise, inferior quality scans affect the Publishers’ relationships with

consumers. For example, in certain instances book scans from IA have surfaced on retailer

websites such as Amazon as offerings by sponsored third-party vendors, leading to negative

reviews on the product pages. When a consumer gives such a work a one-star review because of

the scan quality, other consumers may only focus on the negative rating, even if it has nothing to

do with the content of the work. More generally, consumers may be confused about whether the

publisher has authorized the IA scan, leading to a negative impact on the publisher’s goodwill.

        126.    Fifth, IA interferes with the author’s and publisher’s right to decide which works

will be distributed in which format and at which time. For example, as noted above, some works

or authors are ill-served by the conversion of print editions into digital works, either for

commercial or artistic reasons. IA has appropriated to itself this right that belongs exclusively to

the rightsholder.




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          127.   Finally, Plaintiffs have legitimate fears regarding the security of their works both

as stored by IA on its servers and subsequently publicly displayed or transmitted to users. For

example, upon information and belief, IA has not developed and does not enforce sufficiently

rigorous DRM protocols and related logistical systems that aggregators must employ to ensure

that books appearing on their websites are not pirated or unlawfully infringed by users.

                                      CLAIMS FOR RELIEF

                                 FIRST CAUSE OF ACTION
                     Direct Copyright Infringement (17 U.S.C. § 101 et seq.)

          128.   Plaintiffs repeat and reallege each and every allegation above as if fully set forth

herein.

          129.   The Works are original, creative, and copyrightable subject matter under the laws

of the United States.

          130.   The copyrights in the Works are registered, and the Copyright Office has issued

valid Certificates of Registration for the Works.

          131.   By its actions, alleged above, Defendant has infringed and will infringe the

Publishers’ copyrights in and to the Works by, inter alia, reproducing, distributing, publicly

displaying, publicly performing, and making derivative works of the Works without any

authorization or permission from Plaintiffs.

          132.   Each infringement of the rights of Plaintiffs in one of the Works constitutes a

separate and distinct act of infringement.

          133.   Defendant’s infringement of Plaintiffs’ copyrights, including the Plaintiffs’

Works, is willful.




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          134.   Upon information and belief, as a direct and proximate result of its wrongful

conduct, Defendant has and will obtain benefits, including, but not limited to, profits to which

Defendant is not entitled.

          135.   As a direct and proximate result of Defendant’s wrongful conduct, Plaintiffs have

been, and will continue to be, substantially and irreparably harmed in an amount not readily

capable of determination. Unless restrained by this Court, Defendant will cause further

irreparable injury to Plaintiffs.

          136.   As a direct and proximate result of Defendant’s infringement, Plaintiffs are

entitled to recover statutory damages, pursuant to 17 U.S.C. § 504(c), with respect to each work

infringed. Alternatively, at the election of Plaintiffs, pursuant to 17 U.S.C. § 504(b), Plaintiffs

are further entitled to recover from Defendant the damages they have sustained and will sustain,

as well as any gains, profits and advantages obtained by Defendant as a result of its acts of

infringement alleged above. At present, the amount of such damages, gains, profits, and

advantages cannot be fully ascertained by Plaintiffs.

          137.   Plaintiffs are entitled to recover their attorney’s fees and costs.

                               SECOND CAUSE OF ACTION
                   Secondary Copyright Infringement (17 U.S.C. § 101 et seq.)

          138.   Plaintiffs repeat and reallege each and every allegation above as if fully set forth

herein.

          139.   Although it is clear that IA is directly liable for copyright infringement, Plaintiffs

also bring claims for secondary liability, in the alternative, to the extent IA attempts to evade

responsibility for its own direct liability by blaming the conduct on others, such as users of the

Website.




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       140.    Defendant is secondarily liable under theories of contributory liability,

inducement liability, and vicarious liability for the underlying reproduction, distribution, public

display, and public performance of Plaintiffs’ Works, as well as the making of infringing

derivatives of Plaintiffs’ Works.

       141.    Defendant is contributorily liable as it knows, or has reason to know, that

Plaintiffs’ Works are infringed each time Plaintiffs’ Works are scanned, uploaded, downloaded,

publicly displayed, or publicly performed in connection with the Website, and it has caused

and/or materially contributed to those infringements.

       142.    Defendant is also secondarily liable under a theory of inducement. Defendant is

responsible at every level for scanning copyrighted books, including the Works, uploading the

scanned copies to its Website, and then distributing, displaying, and performing the works

publicly. Defendant could take simple measures to prevent further infringement, such as by not

scanning books under copyright, limiting the books on the Website to works in the public

domain, or obtaining licenses to distribute ebooks. Instead, the infringement of copyrighted

books, including Plaintiffs’ Works, is a central focus of Defendant’s business strategy.

Defendant affirmatively encourages individuals to use the Website to infringe copyright,

including by downloading digital copies of copyright protected books without a license,

including the Works.

       143.    Further, Defendant is vicariously liable for copyright infringement because it has

the right and ability to supervise the infringement of its users and possesses a financial interest in

the infringement. As detailed above, Defendant has the right and ability to supervise the

infringement of Plaintiffs’ copyrighted books, including the Works. Defendant provides the sites

and facilities on which the infringing activity occur. Defendant can stop allowing users of the




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Website to download Plaintiffs’ copyrighted books, including the Works. In brief, Defendant is

in charge of the Website.

           144.   Defendant possesses an obvious and direct financial interest in the infringement.

The uploading and downloading of increasing numbers of copyrighted works to the Open

Library, including the Works, enhances the reputation of Defendant and its Website as a

comprehensive source of free digital books. It draws more user registrations from people

wishing to download from the Website and more donations of funds and books. The infringing

files also increase the number of visitors to the Website, in turn increasing the numbers of people

who view the link to purchase books at the Defendant’s affiliate, Better World Books, which as it

acquires more books, provides them to IA for scanning. Further, Defendant obtains a direct

financial benefit by charging for the costs of scanning copyrighted books, which are then

uploaded to the Website.

           145.   Each infringement of the rights of Plaintiffs in one of the Works constitutes a

separate and distinct act of infringement.

           146.   Defendant’s infringement of Plaintiffs’ copyrights, including Plaintiffs’ Works, is

willful.

           147.   Upon information and belief, as a direct and proximate result of its wrongful

conduct, Defendant has and will obtain benefits, including, but not limited to, profits to which

Defendant is not entitled.

           148.   As a direct and proximate result of Defendant’s wrongful conduct, Plaintiffs have

been, and will continue to be, substantially and irreparably harmed in an amount not readily

capable of determination. Unless restrained by this Court, Defendant will cause further

irreparable injury to Plaintiffs.




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       149.    As a direct and proximate result of Defendant’s infringement, Plaintiffs are

entitled to recover statutory damages, pursuant to 17 U.S.C. § 504(c), with respect to each work

infringed. Alternatively, at the election of Plaintiffs, pursuant to 17 U.S.C. § 504(b), Plaintiffs

are further entitled to recover from Defendant the damages they have sustained and will sustain,

as well as any gains, profits, and advantages obtained by IA as a result of its acts of infringement

alleged above. At present, the amount of such damages, gains, profits, and advantages cannot be

fully ascertained by Plaintiffs.

       150.    Plaintiffs are entitled to recover their attorney’s fees and costs.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Hachette, HarperCollins, Penguin Random House, and Wiley,

respectfully request judgment against Defendant Internet Archive as follows:

       A.      Declaring that the practices of Internet Archive in connection with “Open

               Library” constitute willful copyright infringement;

       B.      Issuing a preliminary and permanent injunction enjoining Internet Archive, and its

               agents, servants, employees, attorneys, successors and assigns, and all persons,

               firms and corporations acting in active concert or participation with it, from

               directly or indirectly reproducing, distributing, publicly displaying, creating

               derivative works, otherwise infringing, or causing, enabling, facilitating,

               encouraging, or inducing the reproduction, distribution, public display, creation of

               derivative works, or other infringement of, any of the respective copyrights

               owned or exclusively controlled, in whole or in part, by Plaintiffs, whether now in

               existence or hereinafter created, and ordering that all unlawful copies be

               destroyed;




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        C.      Entering judgment for Plaintiffs against Internet Archive for statutory damages in

                an amount based upon Internet Archive’s willful acts of infringement of the

                Works, as alleged above, pursuant to the Copyright Act, 17 U.S.C. §§ 101, et seq.;

        D.      Alternatively, ordering Internet Archive to render a full and complete accounting

                to Plaintiffs of Internet Archive’s profits, gains, advantages, or the value of

                business opportunities received from the foregoing acts of infringement of the

                Works and entering judgment for Plaintiffs against Internet Archive for all

                damages suffered by Plaintiffs and for any profits or gain by Internet Archive

                attributable to the infringements alleged above of Plaintiffs’ copyrights in

                amounts to be determined at trial;

        E.      Awarding Plaintiffs the costs and disbursements of this action, including

                reasonable attorney’s fees, pursuant to 17 U.S.C. § 505;

        F.      Awarding Plaintiffs pre-judgment and post-judgment interest, to the fullest extent

                available, on the foregoing; and

        G.      Granting such other further and different relief as this Court deems just and

                proper.

                                  DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs demand a jury trial on all issues

so triable in this action.

Dated: June 1, 2020
       New York, New York

                                                DAVIS WRIGHT TREMAINE LLP

                                                /s/ Elizabeth A. McNamara
                                                Elizabeth A. McNamara
                                                Linda Steinman



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